                                                                             Page 1

1                     IN THE UNITED STATES DISTRICT COURT FOR
2                      THE MIDDLE DISTRICT OF NORTH CAROLINA
3
4
5             MAXWELL KADEL, et al.,            )
                                                )
6                             Plaintiffs,       )
                                                )    No. 1:19-cv-272-LCB-LPA
7                     V.                        )
                                                )
8             DALE FOLWELL, et al.,             )
                                                )
9                         Defendants.           )
              __________________________        )
10
11
12
                                       DEPOSITION
13                                         OF
                                        DEE JONES
14
                           IN HER INDIVIDUAL CAPACITY
15                                    and
                   30(b)(6) DESIGNEE FOR NC STATE HEALTH PLAN
16
                                     AUGUST 3, 2021
17
18                       THIS TRANSCRIPT IS NOT COMPLETE
                  PORTIONS OF THIS TRANSCRIPT AND/OR EXHIBITS
19              MAY BE DESIGNATED CONFIDENTIAL/ATTORNEYS EYES ONLY
                AFTER REVIEW OF TRANSCRIPT BY ATTORNEYS WITHIN 30
20               DAYS OF DATE OF DEPOSITION PER PROTECTIVE ORDER
21
22
                                   PNC PLAZA DOWNTOWN
23                         301 Fayetteville Street, Suite 1700
                                 Raleigh, North Carolina
24
25        Reported by: Michelle Maar, RDR, RMR, FCRR

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1               Q.     And in 2016, did the Plan's benefits coverage

2         provide for blanket exclusions for treatment of gender

3         dysphoria?

4               A.     Yes.

5               Q.     I would like to show you what I'm marking as

6         Plaintiffs' Exhibit 1.

7                      (Exhibit 1 is marked for identification.)

8                      MS. RAVI:    I'll give you a moment to review the

9         document.     I know it's lengthy.

10                     MR. RULEY:     You've seen it before.

11                     THE WITNESS:     I've seen it once or twice.

12        BY MS. RAVI:

13              Q.     Do you recognize this document?

14              A.     I do.

15              Q.     What is this?

16              A.     It is the 80/20 PPO Plan Benefits Booklet for the

17        period January 1 through December 31 of 2016.

18              Q.     Would you turn to the page marked as PLAN

19        DEF2711.

20                     In the 2016 Plan Year, did the Plan exclude from

21        coverage treatment or studies leading to or in connection

22        with sex changes or modifications and related care?

23              A.     Yes.

24              Q.     If you could turn to the page marked PLAN

25        DEF2699.

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1                      In the 2016 Plan Year, did the Plan exclude from

2         coverage psychological assessment and psychotherapy

3         treatment in conjunction with proposed gender

4         transformation?

5                 A.   Yes.

6                 Q.   If I refer to these two exclusions from coverage

7         today as the exclusions, will you know what I'm talking

8         about?

9                 A.   Yes.

10                Q.   All right.     When was this exclusion language

11        added to the Plan documents?

12                A.   As I understand it, back into the '90s in some

13        capacity.

14                Q.   And with the exception of Plan Year 2017, has the

15        exclusion been in place continuously since it was

16        introduced?

17                A.   As I understand it, yes.

18                Q.   And is that correct for the 80/20 PPO Plan?

19                A.   Yes.

20                Q.   Is that also correct for the 70/30 PPO Plan?

21                A.   Yes.

22                Q.   And for the High-Deductible Health Plan?

23                A.   Yes.

24                Q.   Who is eligible to enroll in the State Health

25        Plan?

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1               A.    State employees, teachers, public school

2         teachers, employees of the University Systems of North

3         Carolina, employees of the Community College System,

4         lawmakers, and former lawmakers, some charter schools, some

5         municipalities, and, of course, state agencies.

6               Q.    Okay.   And by that, you mean employees of charter

7         schools, municipalities, and state agencies?

8               A.    Yes.

9               Q.    Anyone else?

10              A.    No.

11              Q.    And what is the plan year?

12              A.    January 1 through December 31st.

13              Q.    All right.     Can you generally describe the

14        process by which the Plan determines benefits for a

15        subsequent plan year?

16              A.    We start with the existing benefits.            And unless

17        there are any material, or changes that the Plan has

18        decided to add, it will be the same booklet or same

19        benefits going forward.

20              Q.    How does the Plan decide whether to make changes

21        going forward?

22              A.    Starting with the overarching goal of providing

23        healthcare for its members, and recognizing that we are a

24        government plan, and recognizing that we have limited

25        funding all provided by taxpayers, we start with that.

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1               Q.    Did you discuss this recommendation with the

2         State Treasurer?

3               A.    No.

4               Q.    Is it correct that care must be medically

5         necessary to be covered by your Plan?

6               A.    Yes.   But the Plan does not cover all medically

7         necessary treatment.

8               Q.    At the time of this draft resolution, was it the

9         Plan's position that gender transition services were

10        medically necessary care?

11                    MR. RULEY:     Objection, form.

12                    THE WITNESS:     Again, a lot of things are

13        medically necessary that the Plan doesn't cover.              And a lot

14        is not, it's maybe a little bit of a loaded word.              But that

15        is what it says here.

16        BY MS. RAVI:

17              Q.    I'm sorry -- could you clarify when you say that

18        is what it says here?

19              A.    It says here in the resolution that the board

20        approve medically necessary coverage.

21              Q.    Medically necessary coverage of gender transition

22        services?

23              A.    Yes.

24              Q.    Regarding the position on whether or not gender

25        transition services are medically necessary coverage, has

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1               A.    That is correct.

2               Q.    What was the basis for that reference?

3               A.    This is the Treasurer's words.          I'm not aware of

4         what he was referring to.        I don't disagree with it.         But

5         these are his words.

6               Q.    All right.     Are you aware of the Treasurer's

7         basis for this statement?

8               A.    No.

9               Q.    Does the Plan believe the treatment for gender

10        dysphoria is medically uncertain?

11              A.    Yes.

12              Q.    When did this view develop?

13              A.    Please repeat.

14              Q.    When did this view develop?

15              A.    I would say over several years.          In 2016, it's

16        very clear that while the presentations had a lot of

17        supporting documentation, the basis of the sunsetting or

18        the removal of the exclusion was based on the 1557 Rule and

19        the need to keep the federal funding.

20                    And the Plan at the time, the staff used and put

21        forth all sorts of other information when we just went

22        through.

23                    But since that time, we have new staff, we have a

24        small staff, we manage contracts, and we have limited

25        clinical staff.

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1                     But the people we work with, and as I already

2         mentioned the journals or whatever that I have reviewed and

3         discussions we've had with current and former board

4         members, there's a lot of uncertainty on whether or not the

5         treatments are effective.        And in some cases, maybe they

6         are.    But there's discussion in the space of the, more the

7         psychological effects and how much it's important there

8         versus the surgery, the transition surgery.

9                Q.   And what was the basis for Treasurer Folwell's

10        statement regarding the medical uncertainty?

11                    MR. RULEY:     Objection, form.

12                    THE WITNESS:     I don't know.

13        BY MS. RAVI:

14               Q.   Did Treasurer Folwell discuss this statement with

15        you?

16               A.   No.

17               Q.   Did Treasurer Folwell discuss this statement with

18        anyone at the Plan?

19               A.   I'm not aware of any conversations he had with

20        anybody at the Plan.

21               Q.   And does this statement from October 25th reflect

22        the views of the State Health Plan?

23               A.   Parts of it might, such as the legal and medical

24        uncertainty.

25                    The Franciscan Alliance opinion came out in

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1         December of 2016.       And we know there were various cases in

2         Texas I believe.

3                      So, again, I think there's legal uncertainty.             I

4         think there's medical uncertainty.           And our thoughts kind

5         of went down that direction.

6                      Plus the fact that this is such, as we already

7         went through, the Blue Cross spreadsheet that was part of

8         the record, where it's such a small part of the Plan

9         membership that this benefit would apply to.              It's a niche.

10        I call that a niche, a small population of people.

11                     And the Plan can't cover every requested benefit

12        for every single niche that comes forward, niche

13        population.     It happens all the time.

14                     You know, I have to turn down parents who want a

15        special feeding benefit for their infant children who can't

16        process food normally.

17                     I have to turn down hearing aids for a much

18        larger population of people because they're so expensive.

19        There's plenty of efficacy there, right?             It helps people

20        hear.    But the fact that they have to change hearing aids

21        every five to six years or more frequently, I can't afford

22        that as a Plan.

23                     Because if I -- I have to serve a whole entire

24        population with a very finite amount of money.               And so the

25        only thing I can really cover is the current state of

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1         benefits and any benefits that might apply to a broad swath

2         of the population with a not guaranteed but a strong

3         proponent of lower costs in the future.

4                     And so that's where legal and medical uncertainty

5         -- I don't have to cover medically necessary treatment.              We

6         cover a lot of it.      But in this case, we don't.

7               Q.    Prior to this statement coming out on October 25,

8         2018, did Plan staff discuss the legal uncertainty that's

9         referenced here?

10              A.    Yes.

11              Q.    Did Plan staff discuss the medical uncertainty

12        that's referenced here?

13              A.    Yes.

14              Q.    Let's turn back to Exhibit 5.          And if you can

15        turn to Page 10 of this document.

16                    Plaintiffs' Interrogatory Number 3 asks the Plan

17        to discuss the factual basis for each governmental interest

18        that the Plan contends supports the exclusion.

19                    Is that right?

20              A.    Yes.

21              Q.    And is it correct, turning to the next page, the

22        Plan states that the Plan has not identified any valid,

23        reliable, peer-reviewed longitudinal studies that support

24        the efficacy of the plaintiffs' desired treatment?

25              A.    I'm sorry -- where are you?

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1               Q.    I am at the bottom of Page 11, last paragraph.

2               A.    Okay.

3                     That would be true.

4               Q.    Is a peer-reviewed, longitudinal study that

5          supports the efficacy of treatment a prerequisite for the

6          Plan to cover a proposed benefit?

7               A.    Not necessarily.      When we evaluate, as I think we

8          said earlier, it's a holistic review.          There's no single

9          pathway to coverage.      It has to be a broad swath of

10         membership, that there's a benefit for multiple people.

11                    There's a cost component to it.          There's a

12         downstream cost component to it.         There's got to be some

13         common -- not experimental for sure.

14                    There's got to be some common understanding in

15         the medical community that it is a treatment that will

16         produce a downstream effect that's positive.

17                    So, you know, it's very difficult to come back

18         and say well, peer-reviewed, longitudinal studies -- I'm

19         not a clinician and I'm not a researcher, so it's, you

20         know -- but to the extent that we have not found any real

21         evidence that it's absolutely black and white, this

22         particular issue.

23                    You know, I think it goes, well, it should go

24         without saying this is not a personal issue for me.               I

25         don't get, I have no personal opinion about this.

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1                       Because I walk through the front door at the

2          office, and I'm a fiduciary.         This is all about the cost

3          and maintaining this benefit for 740,000 people who expect

4          it every single day and the retirees that have an

5          expectation of the benefit when they retire.

6                       And so every decision I make -- and I'm speaking

7          for myself -- is about that.         It's all about that every

8          day.

9                       It breaks my heart 9 times out of 10 when I have

10         to decline a benefit, 9 times out of 10.

11                      When I see people that need hearing aids, I would

12         love to give them a hearing aid, I would love to.

13                      I have nothing against transgender people.            I

14         would be more than happy to provide the benefit.              But it's

15         not my decision.      I'm a fiduciary first.        And I'm

16         responsible for 740,000 people.          This is not personal.

17         This is all about money very simply put.

18                      I've been charged with reducing the costs of the

19         Plan to operate since the day I started.            And we have done

20         just that.

21                      You know, there's some discussions about how much

22         money the Plan has saved.        Well, it's because we've worked

23         really hard to do that.        We've taken out all extraneous

24         benefits.

25                      We used to cover benefits for a small population

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1               A.    Yes.

2               Q.    So looking at all enrollees in the Plan, 15

3          percent of those enrollees account for 85 percent of the

4          cost of treatment?

5               A.    Correct.

6               Q.    Can an individual enrolled in the State Health

7          Plan request that the State Health Plan change the pronoun

8          associated with that enrollee?

9               A.    Please rephrase.

10              Q.    Can an individual that's enrolled in the State

11         Health Plan request that the Plan change in its records the

12         pronoun that's associated with that individual?

13              A.    The member can change his or her own pronoun.

14              Q.    How does that process occur?

15              A.    The member logs in to eBenefits or calls into the

16         call center, benefit-focused call center, and either

17         changes it him or herself, or requests that it be changed.

18              Q.    Okay.

19              A.    It's not validated.

20              Q.    What does that mean for it not to be validated?

21              A.    You could put in whatever you want.           There's two

22         options, male or female.

23                    And if I were female and put in female, I could

24         do that.   Or if I wanted to put in male, I can do that.            If

25         I make an error, I can do that too.

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1               Q.    And you said an individual can either log in and

2          change that themselves or they can make a request that the

3          Plan make that change?

4               A.    No.   They call into the call center, talk to a

5          call center rep who will record the call.           And then they

6          can be requested to make that change.

7               Q.    To whom is that request made?

8               A.    The call center rep.

9               Q.    If a call center rep gets that kind of request,

10         what happens next?

11              A.    They comply with the request.

12              Q.    And how does that process occur?

13              A.    They go into the system and check yes or no or

14         male or female or exactly -- I guess it's male or female.

15              Q.    And prior to going into the system, is any

16         validation requested?

17              A.    Absolutely.     Whatever -- like the member would

18         call in, and there would be validation questions from the

19         call center rep back to the member to confirm any number of

20         demographic statistics.

21              Q.    What are those validation questions?

22              A.    I don't know them specifically.          But it's

23         something that would be similar to what we all do, which is

24         your address, your full name, possibly your Social Security

25         number, you know, phone numbers, whatever, to try to --

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1          they're a vendor.      I don't tell them how to do their job.

2          I just tell them they have to validate it.             It's not my

3          obligation how to exactly do it.

4                 Q.   So is it fair to say that validation is with

5          respect to making sure that the person calling in and

6          making this request is who they say they are?

7                 A.   Yes.

8                 Q.   Does the Plan require proof of any enrollee's

9          chromosomes before it goes into the system and complies

10         with that question?

11                A.   No.

12                Q.   Does it require proof of an enrollee's anatomy?

13                A.   No.

14                Q.   And does it require proof of an enrollee's DNA?

15                A.   No.

16                Q.   Everything we just talked about with regard to

17         changing the pronoun in the system, does that also apply to

18         a request to change an individual enrollee's gender marker

19         in the system?

20                A.   We don't track gender markers in the system other

21         than male or female.       We only have but two options right

22         now.

23                Q.   Is participation in the Plan required for state

24         agency employees?

25                A.   No.    They have a choice.      I mean the benefit

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1          role, but I would say we have two people, we have a real

2          actuary, Charles Seifert.       And we have a financial analyst,

3          Tamera McNeal.

4               Q.    And you said it's a different perspective with

5          regard to how issues are approached with current Plan

6          staff --

7               A.    Uh-huh.

8               Q.    -- as opposed to Plan staff in 2016.

9               A.    Uh-huh.

10              Q.    Can you clarify that?

11              A.    In 2016, there was Mona and Lotta and Caroline.

12         And they seemed to make all the decisions and were

13         supported by staff and maybe some of the clinical

14         perspective that -- they actually had more clinicians back

15         in those days.

16                    Today, we are a flatter staff.          And we have a very

17         diverse group of experience and background and skill sets.

18         And so we bring them all to the table.

19                    And we work through -- again, our focus, at the

20         direction of the Treasurer, is about making sure the Plan is

21         in existence tomorrow, in five years, in ten years.

22                    And that's really hard to do when we're being

23         funded at a 4 percent or better or less level, and our trend

24         rates are at 7 percent.       The math just doesn't work.

25              Q.    With regard to the Plan's current staff, is there

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1          not personal.     This is not something that I get to make a

2          choice about.     Because if I had every single group that

3          comes in to ask for a benefit, if I covered that, then I

4          would be completely, completely avoiding my fiduciary

5          responsibility to cover basic health.          That's what the Plan

6          Benefits Booklet says, right?

7                       The Plan Benefits Booklet identifies every single

8          thing I cover.     And it provides healthcare.         We want every

9          member of the Plan to have good healthcare.            We want the --

10         and the reality is we have a lot of members who have

11         diabetes.     We have a lot of members who have orthopedic

12         issues.     We have a lot of members who have RA.          We have

13         really a lot of members who have cancer.           And they want to

14         be, they want to be covered.

15                      And so it's really difficult for me to just say,

16         you know, I can take this group of 25 and this group of 10

17         and these -- if you add all that up -- I'll, I'll totally

18         admit that the cost of this benefit is not going to break

19         the Plan, never was, never will.

20                      But it -- I can't do it for that group and not do

21         it for the group that wants it for their infants, for, you

22         know, for a certain feeding formula for that infant group,

23         and I can't do it for the hearing aid group, and I can't do

24         it for the group that really wants acupuncture.

25                      Because once you start adding those, then I have

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1          to keep going.     Everybody who comes in and wants a benefit,

2          I'll have to do it because I can't discriminate.

3                     I'm not discriminating.        This is about what the

4          Plan can afford in the environment that we're in today --

5          which is I have a General Assembly that's funding me at 4

6          percent when my trend rate is 7 plus.          And that's not even

7          absolutely certain.

8                     I have a 28.8 billion unfunded liability for

9          retiree healthcare that I, myself, am ready to have in a few

10         years.

11                    And so, you know, this is all about being a

12         government plan.     And I don't get to, I don't get to pick

13         and choose.   I'm not a commercial plan.

14                    So let's start with that.         A commercial plan, they

15         have revenues, right?      You go out and sell widgets, and you

16         sell a lot of widgets, and then you decide how much you want

17         to put into the benefit.       And you can have your member, your

18         staff, your employees pay.

19                    I would bet most employers -- I was paying 100

20         bucks when I was at Time Warner.         I was paying for the

21         family, and I wasn't fully subsidized.

22                    At the State Health Plan, we've got people who, a

23         whole lot of employees have to work one week out of a month

24         just to cover their Health Plan for their family.

25                    And the effort to just institute a 25 dollar

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1          premium for the 70/30 Plan and a 50 dollar premium for the

2          80/20 Plan was a herculean effort.          They had never paid

3          anything until 2018.       Employees had never paid anything

4          until 2018 -- which is crazy.         I mean I get that.

5                      But we can't just keep adding costs to the Plan.

6                      And the General Assembly, in the 2016 budget, I

7          think it's 2016-94, something like that, said you got to

8          stop, you've got to control your costs, you're not getting

9          more than 4 percent, and you can't go over.

10                     So what happens when I spend more than I've got?

11         I've got to charge employees.         And I got to charge employees

12         who, you know, read the, you know employees don't make

13         market rates.     They just don't.

14                     And so it is a very tight -- I mean I live in a

15         box.    And there's not a lot of room in the box to move

16         because I have the General Assembly describing what I can

17         do.    You know, it's all -- eligibility, it's all in statute.

18         My funding is all in statute, in the budget bill.              And

19         that's one box.

20                     I work with vendors who I have to make them work

21         together.    And, quite frankly, as big as we are, I got at

22         least one vendor that's not real cooperative.             And it's

23         really annoying.      But it doesn't matter -- apparently, to

24         some vendors, it doesn't matter that we're the biggest

25         Health Plan, you know, one of the biggest in the nation.

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1          -- if that's okay.

2                     MS. RAVI:    Alan, I think we're taking another 5

3          to 10 minute break, and then we'll be back.

4                     (Off the record)

5                     MR. RULEY:     I have just a few follow-up questions

6          for you.

7

8                                      EXAMINATION

9          BY MR. RULEY:

10              Q.    Would you find Exhibit 1 please.           Would you turn

11         to Page 50 please.

12                    Page 50 is titled What Is Not Covered?            Is that

13         right?

14              A.    That is correct.

15              Q.    And are these basically exclusions, a list of

16         exclusions?

17              A.    Yes.

18              Q.    And would you look at the fourth bullet point.

19              A.    Yes.

20              Q.    What is that exclusion?

21              A.    Any experimental drug or any drug or device not

22         approved by the Food and Drug Administration (FDA) for the

23         applicable diagnosis or treatment.

24              Q.    Then turning the page to Page 51, the fourth

25         bullet point from the bottom, what is that exclusion?

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                                                                        Page 118

1               A.      Surgical procedures for psychological or

2          emotional reasons.

3               Q.      And would those exclusions also potentially apply

4          to coverage for gender dysphoria?

5               A.      Yes.

6               Q.      Earlier, you mentioned HBRs.       What are they again

7          please?

8               A.      Health Benefit Representatives.        They are

9          actually defined in statute.        And they work at the various

10         employing units.     I mentioned there are 408.         They are

11         liaisons to the Plan.      So the Plan teaches them, keeps them

12         apprised of the benefits being offered.           But they're

13         responsible for their employer's employees and getting them

14         enrolled and making sure they understand the processes.

15              Q.      So are they employed by the State Health Plan or

16         by others?

17              A.      By the others.

18              Q.      All right.   Thank you.

19                      On costs -- would you get Exhibits 6 and 7 please.

20                      Looking at Exhibit 6, for example, look at the

21         first e-mail on Exhibit 6, Page DEF61647, the January 22,

22         2017 e-mail.

23              A.      Yes.

24              Q.      And that reports, as of 1-21, a total paid of

25         287.57.

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